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@AO 245B (Rev. 06/05) Judgment in a Criminal Case U.S. DIST.
Sheet 1 EASTERN DISTRICT ARKANSAS _
JAN 29 2008

UNITED STATES DISTRICT COURT

JAMES W. McCORMACK,

 

“de
P CLERK

 

EASTERN DISTRICT OF ARKANSAS By;
DE
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv.
Case Number: 4:04CR00035-04-WRW
VERTIS CLAY USM Number: 23321-009
MARK HAMPTON / J. BLAKE HENDRIX
Defendant’s Attorney
THE DEFENDANT:

(1 pleaded guilty to count(s)

[_] pleaded nolo contendere to count(s)

 

 

which was accepted by the court.

X was found guilty on counts
after a plea of not guilty.

Isssss, 2sssss and 4sssss

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
21 USC $§ 84E(a)(1) and) ~=—s Conspiracy to Distribute and Possess With Intent to 01/31/2004 1sssss
(b)(1)(B) and 846 Distribute More Than 100 Kilograms of Marijuana, a Class B
Felony
18 USC § 924(c) and (0) Conspiracy to Carry, Use, and Discharge a Firearm During 07/20/2003 2sssss
and in Relation to a Drug-Trafficking Crime, a Class C
Felony
18 USC §§ 924(c) and (j) ~— Aiding and Abetting the Carrying and Use of a Firearm 07/20/2003 dsssss
and 2 During a Drug-Trafficking Conspiracy That Resulted in the
Death of Another, a Class A Felony
é
The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984,

[Tre defendant has been found not guilty on count(s)

[_|count(s)

 

[7] is J are dismissed on the motion of the United States.

 

_,,_ itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

January 18, 2008

Date of Imposition of Judgment

WY PUM ey O.

Signature of Judge

WM. R. WILSON, JR.

UNITED STATES DISTRICT JUDGE
Name and Title of Judge

January 29, 2008
Date
ee A0 USB rev, 060s Foe Sen oacGt-00035-BRW Document 443 Filed 01/29/08 Page 2 of 7

Sheet 1
AO 245B

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(Rev. 06/05) Judgment in Criminal Case
Sheet 2 — Imprisonment

Judgment — Page z

DEFENDANT: VERTIS CLAY
CASE NUMBER: 4:04CR00035-04-WRW

total term of:

x

O

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a

The court makes the following recommendations to the Bureau of Prisons:
The defendant is to be placed in a correctional facility in Victorville, California

The defendant shall cooperate in the collection of DNA.

The defendant is remanded to the custody of the United States Marshal.

The defendant shall surrender to the United States Marshal for this district:
[] a Noam O pm. on
{_] as notified by the United States Marshal.

 

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

L) before 2 p.m.

 

L] as notified by the United States Marshal.

(1 as notified by the Probation or Pretrial Services Office.

RETURN

I have executed this judgment as follows:

at

Defendant delivered ta

40 YEARS on Count Isssss; 10 YEARS on Count 2sssss consecutive to Count Isssss; LIFE W/O POSSIBILITY
OF RELEASE on Count 4sssss; 40 years on Count Isssss and 10 years on Count 2sssss concurrent to Life on Count 4sssss.

 

, with a certified copy of this judgment.

 

 

UNITED STATES MARSHAL

By

 

DEPUTY UNITED STATES MARSHAL
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AO245B — (Rev. 06/05) Judgment in a Criminal Case
Sheet 3 — Supervised Release

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DEFENDANT: VERTIS CLAY
CASE NUMBER: 4:04CR00035-04-WRW

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of : 4 YEARS on Count Isssss and Count
2sssss to run concurrent

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons,

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

LC] = The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.) ,

X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

L] The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

C] The defendant shail participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement.
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Sheet 3B — Supervised Release

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DEFENDANT: VERTIS CLAY
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ADDITIONAL STANDARD CONDITIONS OF SUPERVISION
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AO 245B (Rev. 06/05) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

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DEFENDANT: VERTIS CLAY

CASE NUMBER: 4:04CR00035-04-WRW
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 300.00 $ -00- $ -00-
(1 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AQ 245C) will be entered

after such determination.
(} The defendant must make restitution (including community restitution) to the following payces in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(j), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
TOTALS $ 0 $ OD

[1 Restitution amount ordered pursuant to plea agreement $

{] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

C1 The court determined that the defendant does not have the ability to pay interest and it is ordered that:
L) the interest requirement is waived forthe 1 fine (1 restitution.

CL] the interest requirement for the CL) fine ({ restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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Sheet 6 — Schedule of Payments

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DEFENDANT: VERTIS CLAY
CASE NUMBER: 4:04CR00035-04-WRW

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A X_ Lumpsum payment of $ _ 300.00 due immediately, balance due

O snot later than , or
[] in accordance Oc. OF8b CQ £EBor O1 Fbelow; or

B () Payment to begin immediately (may be combined with [] C, mM D, LC) F below); or

C1] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
{e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of

(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E (1 Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F £4 Special instructions regarding the payment of criminal monetary penalties:
Restitution is mandatory during incarceration and supervised release. During incarceration the defendant will pay 50 percent per
month of all funds that are available to him. During residential re-entry placement, payments will be reduced to 10 percent of the

defendant's gross monthly income, Beginning the first month of supervised release, payments will be 10 percent per month of the
defendant's monthly gross income. The interést is waived.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, ayment of criminal monetary penalties is due durin
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financia
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

(0 Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

(]_ The defendant shall pay the cost of prosecution.

0

The defendant shall pay the following court cost(s):

[1 The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
